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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



   ARTHUR H.ANTWINE,

                          Plaintiff,

           V.                                                Case No. 1:18-cv-706-LO-JFA


   UNITED STATES,

                          Defendant.


                                 MEMORANDUM OPINION


       This matter comes before the Court on Defendant United States' Motion to Dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(1). Dkt. No. 7. Defendant asserts the Court

lacks jurisdiction over this case because Plaintiffs claims are barred under the Federal Tort

Claims Act("FTCA")and the Civil Service Reform Act("CSRA"). Plaintiff contends his claims

are not barred because his supervisor was acting beyond the scope of her employment when she

reported him for sexual misconduct.

       The Court grants Defendant's motion to dismiss and dismisses Plaintiffs claims against

Defendant with prejudice.

                                         I. Background

       Arthur Antwine, proceeding pro se, is an employee ofthe United States Postal Service. In

September 2017, Antwine's supervisor, Jennifer Newbegin, reported him for "workplace sexual

assault." Dkt. No. 1.11. Antwine alleges this report constituted defamation and resulted in

financial hardship, marital stress, and loss ofincome. Dkt. No. 1, Ex. A.

       Antwine filed a warrant in debt in Stafford County General District Court on February 9,
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